 1                                                                                 JS-6

 2

 3

 4

 5
                                 UNITED STATES DISTRICT COURT

 6                             CENTRAL DISTRICT OF CALIFORNIA


 7
      LEWIS KAPLANSKI,                                  Case No. 2:19-cv-08270 (VEB)
 8
                            Plaintiff,                  JUDGMENT

 9    vs.

10    ANDREW M. SAUL, Commissioner of Social
      Security,
11
                           Defendant.

12
            For the reasons set forth in the accompanying Decision and Order, it is hereby ADJUDGED
13
     AND DECREED THAT (1) Plaintiff’s request for an order remanding the case for further
14
     proceedings is DENIED; (2) the Commissioner’s request for an order affirming the Commissioner’s
15   final decision and dismissing the action is GRANTED; (3) judgment is entered in the

16   Commissioner’s favor; and (4) the Clerk of the Court shall CLOSE this case.

17          DATED this 21st day of October 2020

                                        /s/Victor E. Bianchini
18                                      VICTOR E. BIANCHINI
                                   UNITED STATES MAGISTRATE JUDGE
19

20                                                  1

                       JUDGMENT – KAPLANSKI v SAUL 2:19-CV-08270-VEB
